
74 So. 3d 601 (2011)
UNITED AUTOMOBILE INSURANCE CO., Appellant,
v.
HALLANDALE BEACH ORTHOPEDICS, INC., a/a/o Azriah Fulton, Appellee.
No. 4D10-5143.
District Court of Appeal of Florida, Fourth District.
November 30, 2011.
Michael J. Neimand, Office of General Counselor, Miami, for appellant.
Dean A. Mitchell, Ocala, for appellee.
*602 PER CURIAM.
Affirmed. See Kingsway Amigo Insurance Co. v. Ocean Health, Inc., 63 So. 3d 63 (Fla. 4th DCA 2011).
MAY, C.J., WARNER and GROSS, JJ., concur.
